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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

DANIEL SALDIVAR et al.,                     )
                                            )
      Plaintiffs,                           )
                                            )
v.                                          )       Case No. CIV-24-442-PRW
                                            )
OKLAHOMA DEPARTMENT OF                      )
CORRECTIONS et al.,                         )
                                            )
      Defendants.                           )

                         REPORT AND RECOMMENDATION

      Plaintiffs filed this action under 42 U.S.C. § 1983 alleging civil rights violations.

(ECF No. 1-2). Before the Court is the Motion to Dismiss filed by the Oklahoma

Department of Corrections (“ODOC”) and Steve Harpe. (ECF No. 27). Plaintiff has filed a

Response, to which Defendants have replied. (ECF. Nos. 28 & 29, respectively). United

States District Judge Patrick R. Wyrick referred the matter to the undersigned magistrate

judge for initial proceedings consistent with 28 U.S.C. § 636(b)(1)(B)-(C). For the

following reasons, it is recommended the Motion to Dismiss be GRANTED in part and

DENIED in part.

I.    PLAINTIFFS’ ALLEGATIONS

      Plaintiffs are convicted state prisoners who have sued Defendants under 42 U.S.C.

§§ 1981 and 1983, seeking to recover damages allegedly suffered in violation of the

Eighth and Fourteenth Amendments while incarcerated at the Great Plains Correctional

Center (“GPCC”) in Hinton, Oklahoma. Plaintiffs name the following as Defendants in this
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matter: ODOC, ODOC Director Steven Harpe in his individual and official capacities,

John/Jane Doe I-IV, who are GPCC and ODOC employees, in their individual and official

capacities, and John/Jane Doe V-VI, who are GPCC shift supervisors and administrators,

in their individual and official capacities. Id. at 4.

                           1
       In the Complaint, Plaintiffs alleged they were inhumanely confined in shower stalls

on various occasions in August 2023. (ECF No. 1-2:1-3, 5-8). Plaintiffs described being

held in these stalls for extended periods, during which they were not allowed restroom

breaks but were instead forced to relieve themselves in the shower stalls in which they

were held. They did not typically have access to water, other than the scalding hot water

in the showers, and no drinking containers. Id.

       Plaintiffs’ individual allegations are as follows:

       •   Plaintiff Daniel Saldivar alleges that Defendant Doe(s) held him in a shower
           stall without clothing and forced him to stand in his own waste for four nights.
           When Plaintiff asked Defendant Doe(s) why they had placed him in these
           conditions, he heard Defendant Doe tell another GPCC employee, “He’s a sex
           offender.” While being confined in a shower stall, Plaintiff Saldivar was aware
           of at least two other inmates in adjacent shower stalls being held in similar
           conditions. After a fellow inmate provided Plaintiff Saldivar a shirt, he used it
           in to attempt suicide, which prompted GPCC officials to finally remove him from
           the shower stall;

       •   Defendant Doe(s) placed Plaintiff Michael Wolfe, who already faced mental
           health challenges and had previously attempted suicide on two occasions, in
           the same conditions for two nights in August;


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  Because Plaintiffs initially filed this case in state court, Plaintiffs’ pleading is denominated a
petition. (ECF No. 1-2). In keeping with federal practice, the Court will refer to it as a complaint.
See Fed. R. Civ. P. 3 (“A civil action is commenced by filing a complaint with the court.”).
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       •   Defendant Doe(s) placed Plaintiff Zurrell Hernandez in a shower stall on three
           occasions for twenty-four-hour periods. Defendant Doe(s) also pepper-sprayed
           Plaintiff Hernandez prior to one of those confinements;

       •   Defendant Doe(s) confined Plaintiff Larry Pruitt in the Special Housing Unit
           (“SHU”) for weeks without sheets, blankets, a mattress, and electricity, while
           also failing to provide sufficient food and water. Defendant Doe(s) also placed
           him in a shower stall for an extended period and sprayed him with pepper spray
           while confined therein;

       •   Defendant Doe(s) held Plaintiff Ronnie Smith, II, in a 2’ x 2’ space for forty-
           two hours; and

       •   Defendant Doe(s) locked Plaintiff Christopher Hicks in a shower stall for thirty-
           six hours in mid-August, while also failing to provide sufficient food and water.

Id. at 1-3, 5-7.

       Plaintiffs contend that some GPCC employees ended their employment based on

the conditions under which these Plaintiffs and other inmates were held. Id. at 8. Plaintiffs

also stated that GPCC and ODOC management attempted to intimidate GPCC employees

who tried to report the conditions through the submission of incident reports and/or who

refused to participate in confining inmates under the described conditions. Id.

       An internal investigation conducted by Agent Joey Bales of the Office of Inspector

General revealed that the use of shower stalls in the manner described in the Complaint

was a “common procedure across multiple ODOC facilities.” Id. at 9-10. Following the

investigation, “changes were implemented at the GPCC, discontinuing the use of shower

cells for temporary holding of inmates and ensuring proper documentation for inmates

sent to” certain areas. Id. at 10.
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       Pursuant to 42 U.S.C. §§ 1981 and 1983, Plaintiffs assert claims under the Eighth

and Fourteenth Amendments alleging that the conditions of confinement at GPCC violated

their constitutional rights. Id. at 10-14. Defendants ODOC and Harpe have filed the

current Motion arguing certain of Plaintiffs’ claims against them should be dismissed for

failure to state a claim upon which relief can be granted. (ECF No. 27).

II.    STANDARD OF REVIEW

       Defendants seek dismissal under Federal Rule of Civil Procedure 12(b)(6).

Pursuant to Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal,

556 U.S. 662 (2009), to survive a motion to dismiss, a complaint must contain enough

allegations of fact, taken as true, “to state a claim to relief that is plausible on its face.”

Khalik v. United Air Lines, 671 F.3d 1188, 1190 (10th Cir. 2012) (quoting Twombly, 550

U.S. at 570). Under this standard, “the mere metaphysical possibility that some plaintiff

could prove some set of facts in support of the pleaded claims is insufficient; the

complaint must give the court reason to believe that this plaintiff has a reasonable

likelihood of mustering factual support for these claims.” Robbins v. Oklahoma, 519 F.3d

1242, 1247 (10th Cir. 2008) (quoting Ridge at Red Hawk, L.L.C. v. Schneider, 493 F.3d

1174, 1177 (10th Cir. 2007)).

       The “plausibility” standard announced in Twombly and Iqbal is not considered a

“heightened” standard of pleading, but rather a “refined standard,” which the court of

appeals has defined as “refer[ring] to the scope of the allegations in a complaint: if they

are so general that they encompass a wide swath of conduct, much of it innocent, then
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the plaintiffs have not nudged their claims across the line from conceivable to plausible.”

Khalik, 671 F.3d at 1191 (citing Kan. Penn Gaming, LLC v. Collins, 656 F.3d 1210, 1214

(10th Cir. 2011) (additional quotation marks omitted)). The Tenth Circuit has noted that

the nature and specificity of the allegations required to state a plausible claim will vary

based on context. Robbins, 519 F.3d at 1248. “Thus, [it has] concluded the

Twombly/Iqbal standard is ‘a middle ground between heightened fact pleading, which is

expressly rejected, and allowing complaints that are no more than labels and conclusions

or a formulaic recitation of the elements of a cause of action, which the Court stated will

not do.’” Khalik, 671 F.3d at 1191 (quoting Robbins, 519 F.3d at 1247).

       Accordingly, in deciding Twombly and Iqbal, there remains no indication the

Supreme Court “intended a return to the more stringent pre-Rule 8 pleading

requirements.” Id. (citing Iqbal, 556 U.S. at 678). It remains true that “[s]pecific facts

are not necessary; the statement need only ‘give the defendant fair notice of what the .

. . claim is and the grounds upon which it rests.’” Erickson v. Pardus, 551 U.S. 89, 93

(2007) (quoting Twombly, 550 U.S. at 555). Whether a complaint contains sufficient facts

to avoid dismissal is context-specific and is determined through a court's application of

“judicial experience and common sense.” Iqbal, 556 U.S. at 679.

       In analyzing a motion to dismiss under Rule 12(b)(6), the court “accept[s] as true

all well-pleaded factual allegations in the complaint and view[s] them in the light most

favorable to the plaintiff.” Burnett v. Mortg. Elec. Registration Sys., Inc., 706 F.3d 1231,

1235 (10th Cir. 2013). A complaint fails to state a claim on which relief may be granted
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when it lacks factual allegations sufficient “to raise a right to relief above the speculative

level on the assumption that all the allegations in the complaint are true (even if doubtful

in fact).” Twombly, 550 U.S. at 555 (internal citation omitted). Bare legal conclusions in

a complaint are not entitled to the assumption of truth; “they must be supported by

factual allegations” to state a claim for relief. Iqbal, 556 U.S. at 679.

III.   ODOC’S REMOVAL TO FEDERAL COURT DID                              NOT     WAIVE      ITS
       SOVEREIGN IMMUNITY AGAINST LIABILITY.

       Defendant ODOC requests dismissal of Plaintiffs’ claims seeking monetary

damages and retrospective injunctive relief based on Eleventh Amendment immunity.

(ECF No. 27:7-9). “Because state sovereign immunity is a threshold jurisdictional issue,

[the Court] must address it first when it is asserted by a defendant.” Brockman v. Wyo.

Dep’t of Fam. Servs., 342 F.3d 1159, 1163 (10th Cir. 2003) (citing Steel Co. v. Citizens

for a Better Env’t, 523 U.S. 83, 94 (1998)).

       “When a plaintiff sues a State in federal court, the State can invoke two

immunities: (i) Eleventh Amendment immunity from suit, which is a jurisdictional bar that

prevents a federal court from hearing the case; and (ii) sovereign immunity from liability,

which is a substantive defense.” Lowrey v. Mosley, No. CIV 23-0868 JB/JMR, 2024 WL

4348165, at *32 n.5 (D.N.M. Sept. 30, 2024) (citing Trant v. Oklahoma, 754 F.3d 1158,

1172 (10th Cir. 2014)). Sovereign immunity from liability provides immunity for “both

money damages and [retrospective] injunctive relief.” Lay v. Okla. Dep’t of Corr., No.

CIV-24-1027-F, 2024 WL 5330031, at *2 (W.D. Okla. Dec. 20, 2024) (citing Ellis v. Univ.
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                                                            2
of Kan. Med. Ctr., 163 F.3d 1186, 1196 (10th Cir. 1998)).       ODOC, as an agency of the

State of Oklahoma, is treated as an “arm of the state” for purposes of Eleventh

Amendment immunity. Berry v. Oklahoma, 495 F. App’x 920, 922 (10th Cir. 2012) (“ODOC

is [] shielded by sovereign immunity because it is an arm of the state.”).

      In their Response, Plaintiffs contend that by removing this case to federal court,

ODOC waived its Eleventh Amendment immunity. (ECF No. 28:11-13). The Tenth Circuit

has recognized a distinction between waiving immunity against suit in federal court and

waiving immunity against liability. Trant, 754 F.3d at 1172. With regard to the former,

“removal is a form of voluntary invocation of a federal court’s jurisdiction sufficient to

waive the State’s otherwise valid objection to litigation . . . in a federal forum.” Id.

(quoting Lapides v. Bd. of Regents of Univ. Sys. of Ga., 535 U.S. 613, 624 (2002)). Thus,

courts consider voluntary removal as consent to have the claim heard in a federal forum.

Removal does not, however, constitute a waiver of immunity from liability. “[A] state may

waive immunity from suit while retaining immunity from liability for monetary damages .

. . . [and] does not gain an unfair advantage asserting in federal court an affirmative

defense it would have had in state court.” Id. (citing Estes v. Wyo. Dep’t of Transp., 302

F.3d 1200, 1205-06 (10th Cir. 2002)).

      “Oklahoma has not waived sovereign immunity against § 1983 claims in federal

district court.” Callahan v. Poppell, 471 F.3d 1155, 1159 (10th Cir. 2006); see also Okla.


2
 The law is well-settled that Eleventh Amendment immunity does not extend to claims seeking
prospective injunctive relief. Seminole Tribe v. Florida, 517 U.S. 44, 73 (1996).
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Stat. tit. 51, § 152.1(A) (“The State of Oklahoma does hereby adopt the doctrine of

sovereign immunity.”). Further, Defendants specifically reserved and did not waive the

right to immunity from liability in its Notice of Removal. (ECF No. 1:3). Thus, the Court

finds ODOC’s removal of the present case did not waive its immunity against monetary

damages and retrospective injunctive relief. Accordingly, Plaintiffs’ claims against ODOC

seeking monetary damages and retrospective injunctive relief should be dismissed

without prejudice. See Colby v. Herrick, 849 F.3d 1273, 1278 (10th Cir. 2017) (“Because

Eleventh Amendment immunity is jurisdictional, [] dismissal should have been without

                3
prejudice.”).

IV.    THE COURT SHOULD DISMISS WITHOUT PREJUDICE PLAINTIFFS’ 42
       U.S.C. § 1981 CLAIM FOR FAILURE TO STATE A CLAIM.

       Plaintiffs asserted claims under 42 U.S.C. § 1981 against each Defendant alleging

violations of Plaintiffs’ Fourteenth Amendment rights. (ECF No. 1-2:10-13). To state a

plausible claim under § 1981(a), a plaintiff must allege facts demonstrating: “(1) that the

plaintiff is a member of a protected class; (2) that the defendant had the intent to

discriminate on the basis of race [or other protected status]; and (3) that the

discrimination interfered with a protected activity as defined in § 1981.” Hampton v.

Dillard Dep’t Stores, Inc., 247 F.3d 1091, 1101-02 (10th Cir. 2001). “Section 1981



3
  Plaintiffs also state that immunity from liability is not an issue in this matter because their
Complaint is “narrowly tailored” to request only prospective injunctive relief. (ECF No. 28:13).
The undersigned addresses Plaintiffs’ request for injunctive relief further below, but notably,
Plaintiffs’ requests for relief were not so narrowly tailored as to render the question of sovereign
immunity irrelevant.
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[defines] four protected interests: (1) the right to make and enforce contracts; (2) the

right to sue, be parties, and give evidence; (3) the right to the full and equal benefit of

the laws; and (4) the right to be subjected to like pains and punishments.” Shawl v.

Dillard’s Inc., 17 F. App’x 908, 910 (10th Cir. 2001). Presumably, Plaintiffs intend to rely

on the fourth protected interest.

       A review of the Complaint reveals that Plaintiffs have failed to sufficiently allege a

§ 1981 claim. First, the Complaint only identified Plaintiff Wolfe’s race (Native American)

and did not otherwise suggest any other Plaintiff is a member of a protected class.

Second, it did not indicate that Defendants discriminated against them based on race or

some other protected status or that Defendants’ actions were motivated by racial

         4
animus. Thus, the undersigned concludes Plaintiffs have not stated any plausible claims

under § 1981. Accordingly, the Court should dismiss without prejudice Plaintiffs’ claims

under 42 U.S.C. § 1981 for failure to state a claim upon which relief could be granted.




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  The Response specifies the race of three Plaintiffs in addition to Plaintiff Wolfe. (ECF No. 28:15).
These facts are not contained within Plaintiffs’ Complaint and therefore, the Court will not consider
them herein. See Ave. Cap. Mgmt. II, L.P. v. Schaden, 843 F.3d 876, 881 (10th Cir. 2016) (noting
that when ruling on a Rule 12(b)(6) motion, the court may only “rely on (1) the facts alleged in
the complaint and (2) the central documents referenced in the complaint”). Notably, had Plaintiffs
included the race related information in the Complaint, it is unlikely it would have been sufficient
to support their § 1981 claims because their failure to suggest Defendants were motivated by
racial animus remains.
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V.    PLAINTIFFS WOLFE, PRUITT, HERNANDEZ, AND HICKS                              HAVE
      SUFFICIENTLY ALLEGED EIGHTH AMENDMENT CLAIMS.

      Defendants request dismissal of Plaintiffs Wolfe, Pruitt, Hernandez, and Hicks’

Eighth Amendment claims, arguing that they “fail to allege enough information in the

Complaint to satisfy Twombly.” (ECF No. 27:4). The undersigned disagrees.

      A.     LEGAL STANDARDS FOR EIGHTH AMENDMENT CLAIMS

      Under the Eighth Amendment, prison officials must “provide humane conditions of

confinement by ensuring inmates receive the basic necessities of adequate food, clothing,

shelter, and medical care.” Craig v. Eberly, 164 F.3d 490, 495 (10th Cir. 1998). However,

the Eighth Amendment’s prohibition on cruel and unusual punishment “‘does not mandate

comfortable prisons,’ and conditions imposed may be ‘restrictive and even harsh.’” Barney

v. Pulsipher, 143 F.3d 1299, 1311 (10th Cir. 1998) (quoting Rhodes v. Chapman, 452

U.S. 337, 347 (1981)). To state a “conditions of confinement” claim under the Eighth

Amendment, an inmate must establish that (1) the condition complained of is “sufficiently

serious” to implicate constitutional protection, and (2) prison officials acted with

“‘deliberate indifference’ to inmate health or safety.” Farmer v. Brennan, 511 U.S. 825,

834 (1994) (quoting Wilson v. Seiter, 501 U.S. 294, 298 (1991)). “The test for

constitutional liability of prison officials ‘involves both an objective and a subjective

component.’” Mata v. Saiz, 427 F.3d 745, 751 (10th Cir. 2005) (quoting Sealock v.

Colorado, 218 F.3d 1205, 1209 (10th Cir. 2000)).

      To satisfy the objective requirement, “the inmate must show that he is

incarcerated under conditions posing a substantial risk of serious harm.” DeSpain v.
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Uphoff, 264 F.3d 965, 971 (10th Cir. 2001) (quoting Farmer, 511 U.S. at 834). In

reviewing the seriousness of a condition, a court necessarily relies on the particular facts

of each situation, including the “circumstances, nature, and duration” of the challenged

condition. Id. at 974. While not dispositive, the length of exposure to the hazardous

condition is “of prime importance.” Id. To satisfy the subjective requirement, the plaintiff

must present evidence of the prison official’s “culpable state of mind, that he or she acts

or fails to act with deliberate indifference to inmate health and safety.” Brooks v. Colo.

Dep’t of Corr., 12 F.4th 1160, 1173 (10th Cir. 2021); see Farmer, 511 U.S. at 837 (holding

deliberate indifference exists only when the defendant “knows of and disregards an

excessive risk to inmate health or safety”).

       B.     PLAINTIFFS’ CLAIMS

       In the present case, Defendants only challenge the objective component of the

four Plaintiffs’ Eighth Amendment claims. (ECF No. 27:4-5). They first argue that Plaintiffs

Wolfe, Pruitt, Hernandez, and Hicks failed to identify when the factual allegations

underlying their claims occurred. Specifically, they assert that Plaintiffs Pruitt and

Hernandez provided no dates and that Plaintiffs Wolfe and Hicks stated only that the

subject events occurred in “August.” Id. Reading the Complaint as a whole, it is clear

Plaintiffs alleged the events underlying their claims occurred during or near August 2023.

(ECF No. 1-2:2-3, 5-7). In a previous Order issued in this case following the Court’s

screening of the Complaint, Judge Wyrick stated that Defendants “allege that they were

inhumanely confined in shower stalls on various occasions in August of 2023.” (ECF No.
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22:1). Thus, Defendants’ argument that the Complaint does not sufficiently identify when

the challenged actions occurred is without merit.

       Defendants next contend that in asserting his Eighth Amendment claim, Plaintiff

Pruitt failed to provide any “defining facts which would give to notice to what events [he]

is referring.” (ECF No. 27:4). This is simply inaccurate. Plaintiff Pruitt alleged that for

“weeks” while confined in the SHU, Doe Defendant(s) deprived him of sheets, blankets,

a mattress, sufficient food and drink, and electricity. (ECF No. 1-2:7). He also stated that

Doe Defendant(s) placed him in a shower stall for an “extended time period” and while

he was confined therein, sprayed him with pepper spray. Id. These allegations are

sufficient to support Plaintiff Pruitt’s Eighth Amendment claim and provide Defendants

with fair notice of his claims. See Allen v. Avance, 491 F. App’x 1, 1, 4-5 (10th Cir. 2012)

(holding that a pre-trial detainee had sufficiently alleged an Eighth Amendment conditions

of confinement claim based on placement in an isolation cell for twelve days without

bedding, mattress, or toiletries); Jaquez v. Lawton Corr. Facility, No. CIV-11-1066-F, 2013

WL 2645589, at *11-12 (W.D. Okla. June 12, 2013) (denying the defendant’s motion to

dismiss the plaintiff’s Eighth Amendment claim where the plaintiff alleged that for sixteen

days he was deprived of sheets or blankets, hygiene items, clean clothes, and writing

supplies); see also, cf., Ramos v. Lamm, 639 F.2d 559, 568 (10th Cir. 1980) (holding that

prison officials must provide “reasonably adequate ventilation, sanitation, bedding,

hygienic materials, and utilities (i.e. hot and cold water, light, heat, and plumbing)”).
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       Similarly, Defendants argue that Plaintiff Hernandez provides “no . . . defining

facts” to support his claims. (ECF No. 27:4). On the contrary, Plaintiff Hernandez states

that Defendant Doe(s) locked him “in the shower stall three times for a 24-hour period”

and that he “suffered due to inadequate provisions in the shower, including encountering

issues with scalding hot water and a lack of any cup or other vessel for drinking.” (ECF

No. 1-2:7). He also explains that on one occasion, Defendant Doe pepper-sprayed him

prior to placing him in a shower stall. Id. Thus, contrary to Defendants’ assertion, Plaintiff

Hernandez provided “defining facts” regarding the mistreatment he suffered.

       Though the sufficiency of Plaintiff Hernandez’s claim is established, it is notable

that being locked in a shower stall for a twenty-four-hour period would likely result in him

standing in his own waste, like other Plaintiffs. The Tenth Circuit has stated that

“exposure to human waste carries particular weight in the conditions [of confinement]

calculus.” DeSpain, 264 F.3d at 974 (citing McBride v. Deer, 240 F.3d 1287, 1292 (10th

Cir. 2001) (finding “sufficiently serious conditions of confinement” where inmate in feces-

covered cell for three days); Fruit v. Norris, 905 F.2d 1147, 1151 (8th Cir. 1990) (“[C]ourts

have been especially cautious about condoning conditions that include an inmate’s

proximity to human waste”)). “Exposure to human waste, like few other conditions of

confinement, evokes . . . the more general standards of dignity embodied in the Eighth

Amendment.” Id. (citing McCord v. Maggio, 927 F.2d 844, 848 (5th Cir. 1991)

(“[U]nquestionably a health hazard” to live in “filthy water contaminated with human

waste”); LaReau v. MacDougall, 473 F.2d 974, 978 (2nd Cir. 1972) (“Causing a man to
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live, eat, and perhaps sleep in close confines with his own human waste is too debasing

and degrading to be permitted.”)).

       Plaintiffs Wolfe, Pruitt, Hernandez, and Hicks sufficiently indicated when the events

underlying their claims occurred, and Plaintiffs Pruitt and Hernandez provided “defining

facts” giving notice to Defendants as to the bases for each their claims. Accordingly, the

Court should deny Defendants’ request to dismiss these Plaintiffs’ Eighth Amendment

claims.

VI.    THE COURT SHOULD DISMISS WITHOUT PREJUDICE PLAINTIFFS’
       CLAIMS AGAINST DEFENDANT HARPE IN HIS INDIVIDUAL CAPACITY
       FOR FAILURE TO STATE A CLAIM.

       A.      QUALIFIED IMMUNITY

       Defendant Harpe in his individual capacity contends that he is entitled to qualified

                                                                   5
immunity against Plaintiffs’ claims. (ECF No. 27:10-13). “The doctrine of qualified

immunity shields officials [in their individual capacity] from civil liability so long as their

conduct ‘does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known.’” Est. of Taylor v. Salt Lake City, 16 F.4th 744, 757



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  Though Defendant Harpe did not specifically limit his request for qualified immunity to Plaintiffs’
individual capacity claims, the law is well established that qualified immunity is applicable only to
claims against officers in their individual capacity. See Meiners v. Univ. of Kan., 359 F.3d 1222,
1233 (10th Cir. 2004) (“Qualified immunity applies to claims for monetary relief against officials
in their individual capacities, but it is not a defense against claims for injunctive relief against
officials in their official capacities.”).
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(10th Cir. 2021) (quoting Mullenix v. Luna, 577 U.S. 7, 11 (2015)). “[A] defendant’s

assertion of qualified immunity from suit under 42 U.S.C. § 1983 results in a presumption

of immunity.” Id. at 757. That presumption of qualified immunity can be overcome by a

plaintiff “only by showing that (1) the officers’ alleged conduct violated a constitutional

right, and (2) it was clearly established at the time of the violation, such that every

reasonable official would have understood, that such conduct constituted a violation of

that right.” Id. (alteration incorporated) (internal quotation marks omitted). The Court

“may exercise [its] discretion as to which prong to address first.” Id. at 758 (citing Tolan

v. Cotton, 572 U.S. 650, 656 (2014)). Here, Defendant Harpe seeks to invoke qualified

immunity solely on the first prong, i.e. that Plaintiffs did not sufficiently allege a

constitutional violation. (ECF No. 27:10-11).

       B.     SUPERVISORY LIABILITY

       Plaintiffs did not allege Defendant Harpe participated directly in the events

underlying their constitutional violations. Instead, their claims against him in his individual

capacity are based on a theory of supervisory liability. (ECF No. 1-2:13-14). In order to

establish a supervisory liability claim, Plaintiffs must allege: “(1) personal involvement[,]

(2) causation, and (3) state of mind.” Schneider v. City of Grand Junction Police Dep’t,

717 F.3d 760, 767 (10th Cir. 2013). “Under the first element, the plaintiff ‘must show an

affirmative link between the supervisor and the constitutional violation.’” Burke v.

Regalado, 935 F.3d 960, 997 (10th Cir. 2019) (additional internal quotation marks

omitted) (quoting Est. of Booker v. Gomez, 745 F.3d 405, 435 (10th Cir. 2014)). “The
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plaintiff can show such a link by establishing ‘the supervisor promulgated, created,

implemented, or possessed responsibility for the continued operation of a policy,’ Brown

v. Montoya, 662 F.3d 1152, 1164 (10th Cir. 2011), or the establishment or utilization of

an unconstitutional policy or custom, provided the policy or custom resulted in a violation

of the plaintiff’s constitutional rights.” Burke, 935 F.3d at 997 (alterations incorporated)

(additional internal quotation marks and citation omitted).

       Also, as Plaintiffs are asserting Eighth Amendment violations, they must satisfy the

third element by alleging Defendants acted with deliberate indifference. See Montoya,

662 F.3d at 1164 (explaining that to establish the third element of supervisory liability,

“a plaintiff must show that . . . ‘[the defendant] acted with the state of mind required to

establish the alleged constitutional deprivation.’” (quoting Dodds v. Richardson, 614 F.3d

1185, 1199 (10th Cir. 2010)). The Tenth Circuit has explained that a supervisor “is

deliberately indifferent when he deliberately or consciously fails to act when presented

with an obvious risk of constitutional harm which will almost inevitably result in

constitutional injury of the type experienced by the plaintiff.” Schneider, 717 F.3d at 769

(citation omitted).

       In support of their claim, Plaintiffs contend “Supervisory Defendants,” which

presumably include Defendant Harpe, “exercised control and discretion over other

Defendants who ignored or facilitated the neglect and abuse of inmates[] . . . [and] failed

to properly discipline and supervise employees or subcontractors who engaged in these

actions and were aware of these violations of [Plaintiffs’] constitutional rights.” Id. at 13.
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They further alleged Defendant Harpe “promulgated, created, implemented, and/or

utilized policies that caused” the challenged actions, while he knew or should have known

that “maintaining these policies, practices, and widespread customs, and failing to train

and supervise staff properly, would result in violations similar to those experienced by []

Plaintiffs.” Id. at 14.

                                                               6
                1.        FAILURE TO TRAIN OR SUPERVISE

         Although Plaintiffs alleged Defendant Harpe failed to properly train and supervise

GPCC employees, they failed to offer a single factual allegation suggesting that he, as

ODOC Director, trains or supervises GPCC employees or officials. This is fatal to their

claims. See Serna v. Colo. Dep’t of Corr., 455 F.3d 1146, 1154 (10th Cir. 2006) (explaining

that “failure to supervise is only actionable under § 1983 against a defendant who had a

duty to supervise” and affirming summary judgment in favor of the Colorado Department

of Corrections (“CDOC”) Director of Prisons because evidence indicated he did not directly

supervise the special operations response team (“SORT”), which allegedly violated the

                                7
plaintiff’s constitutional rights ); Bryson v. Macy, 611 F.Supp.2d 1234, 1261-62 (W.D.

Okla. Apr. 30, 2009) (granting summary judgment against the plaintiff’s failure to

supervise claim in favor of defendant district attorney where the plaintiff failed to create



6
    The Tenth Circuit treats failure to train and failure to supervise claims “the same way.”
Whitewater v. Goss, 192 F. App’x 794, 797 (10th Cir. 2006).
7
  Likely similar to the present case, in Serna, the court explained that “the SORT team was
supervised by an on-site commander, who reported to the Deputy Director of Prisons, who then
reported to [the CDOC Director]”). Id.
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a genuine issue of material fact as to whether the district attorney supervised Oklahoma

City Police Department’s forensic chemist). As Plaintiffs failed to allege Defendant Harpe

trains or supervises GPCC employees, they have not plausibly asserted that he violated

their constitutional rights in this regard.

              2.      FAILURE TO CREATE OR IMPLEMENT POLICIES TO AVOID
                      HARM

       Plaintiffs also argue that Defendant Harpe knew or should have known of the

constitutional violations occurring at GPCC and failed to create or implement policies to

stop the same. (ECF No. 1-2:11) (“[T]he DOC Director . . . knew or should have known

that the conditions of confinement in the [] shower cells were inhumane, cruel, and

unusual, posing a significant risk to mental and physical well-being of [] Plaintiff[s].”); id.

at 13 (“[The Supervisory Officials] were aware of these violations of inmates’

constitutional rights.”); id. at 14 (“The Supervisory Officials disregarded these known risks

to inmates, including [] Plaintiffs, and acquiesced in the continuation of such practices.”);

(ECF No. 28:7-8) (“Harpe’s failure to act in the face of known risks is not a case of simple

non-involvement but of direct responsibility for systemic conditions that violated

constitutional rights. . . . Plaintiffs . . . specifically allege that Harpe was aware or should

have been aware of the unconstitutional conditions due to his role and responsibilities.”);

id. at 10 (“Harpe’s deliberate indifference to the known risks posed by these conditions

is demonstrated by his inaction and failure to enforce appropriate policies.”). Plaintiffs’

claims fail, however, because their factual allegations do not sufficiently suggest

Defendant Harpe knew of the conditions and acted with deliberate indifference.
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       As previously noted, the Tenth Circuit has explained that deliberate indifference

may lie where a supervisor “deliberately or consciously fails to act when presented with

an obvious risk of constitutional harm which will almost inevitably result in constitutional

injury of the type experienced by the plaintiff.” Schneider, 717 F.3d at 769 (citation

omitted). However, “conclusory allegation[s] that Defendant [Harpe] ‘knew or should

have known’ of the alleged incidents is insufficient to show supervisory liability.”

Herrington v. El Paso Cnty. Sheriff’s Off., No. 23-CV-01533-LTB-SBP, 2024 WL 5323675,

at *2 (D. Colo. Jan. 31, 2024), report and recommendation adopted, 2024 WL 5323671.

       Plaintiffs have not offered any allegations indicating how or why Defendant Harpe

was aware of the unconstitutional conditions occurring at GPCC, instead merely repeating

that he knew or should have known about them. (ECF No. 1-2:11, 14). Courts have

consistently held that conclusory statements constitute mere recitations of general legal

principles as opposed to plausible allegations substantiating Plaintiffs’ claims. See Waller

v. City and Cnty. of Denver, 932 F.3d 1277, 1289 (10th Cir. 2019) (finding that a plaintiff

failed to allege municipal liability, where the complaint merely “allege[d] in conclusory

fashion that Denver knew or should have known that its employees were inadequately

              8
supervised”) ; Carey v. Buitrago, No. 1:19-CV-02073-RM-STV, 2020 WL 3620324, at *11



8
  While Waller addresses municipal liability, the Tenth Circuit has recognized that “the same
deliberate indifference standard applies to claims against individuals [for supervisory liability] and
municipalities themselves.” Pigeon v. City of Okla. City, No. 22-6033, 2022 WL 17660539, at *4
(10th Cir. 2022) (internal quotation marks omitted) (citing Burke, 935 F.3d at 999 (holding that
where “supervisory liability and municipal liability” claims both required showing “deliberate
indifference,” “the elements for supervisory and municipal liability [were] the same”)).
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(D. Colo. Mar. 18, 2020) (dismissing the plaintiff’s supervisory liability claim because he

“merely states that Sergeant Casias knew Plaintiff had glass in his mouth, but how

Sergeant Casias would have known this information is far from clear in the Amended

Complaint”), report and recommendation adopted, 2020 WL 1921756; Yocum v. Utah,

No. 1:16-cv-00098, 2017 WL 448586, at *7 (D. Utah Feb. 2, 2017) (finding allegations

that defendant supervisors “knew or should have known that ‘the wrongs in this matter

were about to be (or were being) committed;’ they ‘had the power to prevent and/or aid

in the prevention’ of the constitutional violations; and because they ‘approved or ratified’

the conduct of the police officers . . . [did] nothing more than state the elements; thus

these are not factual allegations entitled to the presumption of truth.”).

        Similar to Carey and Yocum, though Plaintiffs repeatedly state Defendant Harpe

knew or should have known of their unconstitutional conditions of confinement, they

failed to suggest how Defendant Harpe would have known about the same. As a result,

Plaintiffs have not established a constitutional violation and therefore cannot surmount

the first part of their burden to overcome qualified immunity. Margheim v. Buljko, 855

F.3d 1077, 1090 (10th Cir. 2017). Accordingly, the Court should grant Defendants’ Motion

in this regard, dismissing Plaintiffs’ claims against Defendant Harpe in his individual

capacity.

VII.    PLAINTIFFS SEEK PROSPECTIVE INJUNCTIVE RELIEF.

        Defendants request dismissal of Plaintiffs’ request for prospective injunctive relief

arguing that they are seeking solely retrospective injunctive relief. (ECF No. 27:9-10).
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Though they fail to specify, the Court presumes Defendants intended to ask for this

dismissal on behalf of ODOC and Defendant Harpe in his official capacity. “Section 1983

plaintiffs may sue individual-capacity defendants only for money damages and official-

capacity defendants only for injunctive relief.” Montoya, 662 F.3d at 1161 n.5; see also

Hafer v. Melo, 502 U.S. 21, 27, 30 (1991). Thus, Plaintiffs may not seek injunctive relief

from state officials, such as Defendant Harpe, in their individual capacity.

       Further, “claims against state officials in their official capacity are deemed to be

against the state entity the official represents.” Couser v. Gay, 959 F.3d 1018, 1022 (10th

Cir. 2020). Thus, Plaintiffs’ claims against Defendant Harpe in his official capacity are

deemed to be against ODOC, the state entity with which he is employed. (ECF No. 1-

2:4). As previously addressed, the Eleventh Amendment bars federal court jurisdiction

over a state agency for both money damages and retrospective injunctive relief,” Lay,

2024 WL 5330031, at *2, but does not bar claims seeking prospective injunctive relief.

Seminole Tribe, 517 U.S. at 73. Defendants argue Plaintiffs are seeking solely

retrospective, rather than prospective, injunctive relief and therefore, their claims should

be dismissed pursuant to the Eleventh Amendment. (ECF No. 27:9-10).

       Determining whether a request for injunctive relief is prospective requires a

“straightforward inquiry into whether [the] complaint alleges an ongoing violation of

federal law and seeks relief properly characterized as prospective.” Buchheit v. Green,

705 F.3d 1157, 1159 (10th Cir. 2012) (quoting Verizon Md., Inc. v. Pub. Serv. Comm’n,

535 U.S. 635, 645 (2002)). Defendants argue that according to the Complaint, “Plaintiffs
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are no longer housed in the showers, nor is there any indication that such event would

occur again.” (ECF No. 27:10). However, Plaintiffs very specifically alleged that the

internal investigation revealed housing inmates in shower stalls was a common practice

across multiple ODOC facilities, “underscor[ing] the need for policy review and revision.

. . within the [O]DOC.” (ECF No. 1-2:9, 10). The Complaint explained that following the

investigation, “changes were implemented at [] GPCC, discontinuing the use of shower

cells for temporary holding of inmates, particularly concerning the treatment of inmates

and the use of solitary confinement or similar punitive measures.” Id. at 10. Given the

systemic nature of these practices throughout ODOC facilities, and no indication that the

investigation resulted in policy review, revision, or implementation systemwide, Plaintiffs

reasonably requested prospective relief in the form of an injunction prohibiting such

practices in the future. Id. at 15.

       The undersigned concludes Plaintiffs’ request for equitable relief includes

prospective injunctive relief. Accordingly, Defendants’ Motion arguing that Plaintiffs have

not requested prospective relief and therefore, their requests for injunctive relief should

be dismissed in their entirety should be denied.

VIII. THE COURT SHOULD DISMISS ODOC AS DUPLICATIVE.

       Plaintiff has named both ODOC and Defendant Harpe in his official capacity. As

previously discussed, courts construe claims against state officials in their official capacity

as claims against the state entity the official represents. Couser, 959 F.3d at 1022. Thus,

Plaintiffs naming both ODOC and Defendant Harpe in his official capacity is redundant
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and unnecessary. Accordingly, the Court should dismiss ODOC as duplicative. Defendant

Harpe in his official capacity should remain a party to this lawsuit as a Defendant from

whom Plaintiffs seek prospective injunctive relief.

IX.    RECOMMENDATION AND NOTICE OF RIGHT TO OBJECT

       Based on the foregoing findings, the undersigned recommends Defendants’ Motion

to Dismiss (ECF No. 27) be GRANTED in part and DENIED in part. Specifically, the

Court should grant Defendants’ Motion by dismissing without prejudice the following

claims based on failure to state a claim:

       •   Plaintiffs’ claims against Defendant ODOC and Defendant Harpe in his official
           capacity seeking monetary damages and retrospective equitable relief;

       •   Plaintiffs’ claims under 42 U.S.C. § 1981; and

       •   Plaintiffs’ claims against Defendant Harpe in his individual capacity.

       Additionally, the Court should deny Defendants’ Motion regarding the dismissal of:

       •   Plaintiffs Wolfe, Pruitt, Hernandez, and Hicks’ Eighth Amendment claims
           against the remaining Defendants; and

       •   Plaintiffs’ claims seeking prospective injunctive relief against the remaining
           Defendants in their official capacities.

       The Court should also dismiss ODOC as a duplicative party. Plaintiffs’ remaining

claims are those asserted under 42 U.S.C. § 1983 alleging Eighth Amendment violations

against Defendant Harpe in his official capacity seeking prospective injunctive relief and

claims against Defendants John/Jane Does in their individual and official capacities.

       The parties are advised of their right to file an objection to this Report and

Recommendation with the Clerk of this Court by May 14, 2025, in accordance with 28
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U.S.C. § 636 and Federal Rule of Civil Procedure 72. The parties are further advised that

failure to make timely objection to this Report and Recommendation waives the right to

appellate review of both factual and legal issues contained herein. Casanova v. Ulibarri,

595 F.3d 1120, 1123 (10th Cir. 2010).

X.    STATUS OF REFERRAL

      This Report and Recommendation does not terminate the referral by the District

Judge in this matter.

      ENTERED on April 30, 2025.
